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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
ROCKY MOUNTAIN ELK CV 25-29-BU-DWM
FOUNDATION and PROPERTY
AND ENVIRONMENTAL
RESEARCH CENTER,
Plaintiffs, ORDER

VS.

U.S. DEPARTMENT OF THE
INTERIOR and U.S. FISH AND
WILDLIFE SERVICE,

Defendants,
and
DEFENDERS OF WILDLIFE and
CENTER FOR BIOLOGICAL
DIVERSITY,

Defendant-Intervenors.

Defendant Intervenor Cetner for Biological Diversity moves for the
admission of Lia Comerford to practice before this Court in this case with Kristine
Akland to act as local counsel. The application appears to be in order.

Accordingly, IT IS ORDERED that Defendant Intervenor’s motion to admit
Lia Comerford pro hac vice (Doc. 27) is GRANTED on the condition that pro hac
counsel shall do his or her own work. This means that pro hac counsel must do his

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or her own writing; sign his or her own pleadings, motions, and briefs; and appear
and participate personally. Use of generative AI drafting programs, such as Chat
GPT, is prohibited. Counsel shall take steps to register in the Court’s electronic
filing system (“CM-ECF”). Further information is available on the Court’s
website, www.mtd.uscourts.gov, or from the Clerk’s Office.

IT IS FURTHER ORDERED that this Order is subject to withdrawal unless
pro hac counsel, within fifteen (15) days of the date of this Order, files a notice
acknowledging counsel’s admission under the terms set forth above. In that notice,
counsel shall also designate a single attorney with the authority to make any and all
decisions related to the administration of this case as the primary point of contact
for the opposing party.

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DATED this [Laay of June, 2025.

Donald W lloy, District Judge
United States District Court
